440 F.2d 798
    William Patrick RYAN, Petitioner-Appellant,v.STATE OF LOUISIANA, Respondent-Appellee.No. 31007 Summary Calendar.*v.Citizens Casualty Co. of New York et al., 5 Cir.1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    March 16, 1971, Rehearing Denied and Rehearing En BaneDenied April 14, 1971.
    
      Robert Glass, New Orleans, La., for petitioner-appellant.
      Jim Garrison, Dist. Atty., Louise Korns, Asst. Dist. Atty., Parish of Orleans, New Orleans, La., for respondent-appellee.
      Before GEWIN, GOLDBERG and DYER, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      1
      ON PETITION FOR REHEARING AND PETITION FOR REHEARING EN BANC
    
    PER CURIAM:
    
      2
      The Petition for Rehearing is denied and no member of this panel nor Judge in regular active service on the Court having requested that the Court be polled on rehearing en banc, (Rule 35 Federal Rules of Appellate Procedure; Local Fifth Circuit Rule 12) the Petition for Rehearing En Banc is denied.
    
    
      
        *
         Rule 18, 5 Cir.  See Isbell Enterprises, Inc
      
      
        1
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    